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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 CODY J. SCHUELER, an individual                Case No. 2:22-cv-00389-DCN

         Plaintiff,                             ORDER GRANTING PLAINTIFF’S
                                                MOTION FOR ATTORNEYS’ FEES
 v.                                             AND COSTS

 FOUR SQUAREBIZ, LLC, a Wyoming
 limited liability company, KEITH O.
 CREWS, an individual and the associated
 marital community, MICAH EIGLER, an
 individual and the associated marital
 community, and JOHN AND JANE
 DOES 1–10,

         Defendants.


      THIS MATTER came before the Court pursuant to Plaintiff Cody J. Schueler’s

 Motion for Attorneys’ Fees and Costs against Defendants Four SquareBiz, LLC (“Four

 SquareBiz”) and Keith O. Crews, individually and the associated marital community

 comprised thereof (“Defendant Crews”). Plaintiff is represented by Andrew M. Wagley

 and Samir Dizdarevic-Miller of Etter, McMahon, Lamberson, Van Wert & Oreskovich,

 P.C. This Motion is made pursuant to Federal Rule of Civil Procedure 54(d), District of

 Idaho Local Rule 54.2, and is supported by the accompanying Memorandum of Law,

 including the authorities therein.

      The Court has reviewed Plaintiff’s Motion for Attorneys’ Fees and Costs,

 Memorandum in Support of Plaintiff’s Motion for Attorneys’ Fees and Costs,

 Declaration of Andrew M. Wagley, and the Declaration of Richard T. Wetmore, as well


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 as other pertinent portions of the Court File herein. As such, the Court is fully informed

 to rule as indicated herein.

                                  FINDINGS OF FACT

      Based upon the argument and briefing presented, as well as other documents

 contained within the Court File, the Court hereby makes the following Findings of Fact:

      (1)     This is a commercial lawsuit stemming from the breach of three Bitcoin

              Loan Agreements executed by Defendants, along with accompanying

              Personal Guarantees. See Dkt. 1.

      (2)     Pursuant to the Complaint, Plaintiff prayed for relief in the form of

              “Attorneys’ fees and costs of suit, as allowed by the terms of the

              Agreements, I.C. § 12-120(3), and other applicable laws.” Dkt. 1, at 18.

      (3)     The Agreements that govern this dispute allow for an award of attorneys’

              fees and costs to the prevailing party. The Bitcoin Loan Agreements

              provide: “If either party commences legal proceedings to interpret or

              enforce the terms of this Agreement, the prevailing Party will be entitled to

              recover court costs and reasonable attorney fees.” Dkt. 1-2 at 5, 23, and 35.

              In turn, the Guarantees provide: “If Lender is required to enforce

              Guarantor’s obligations by legal proceedings, Guarantor shall pay to

              Lender all costs incurred, including, without limitation, reasonable

              attorneys’ fees.” Id. at 9, 27, and 39.

      (4)     On September 5, 2023, the Court granted Default Judgment in favor of

              Plaintiff and against Defendants “in the amount of $1,199,809.31,


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            comprising $938,967.55 in principal and $260,841.76 in interest.” Dkt. 37

            37.

     (5)    The accompanying Findings of Fact, Conclusions of Law, and Order

            Granting Default Judgment indicates: “The Agreements at issue allow the

            recovery of attorneys’ fees and costs by the prevailing party. For the reasons

            just stated, Mr. Schueler is the prevailing party.” Dkt. 36, at 6. As such, the

            Order indicates: “As Mr. Schueler is entitled to costs and attorneys’ fees in

            obtaining this Default Judgment, he may submit a Motion for Attorneys’

            Fees and Costs under District of Idaho Local Civil Rule 54.2(b) within

            fourteen days of the entry of judgment.” Dkt. 36, at 10.

     (6)    Plaintiff seeks recovery of $17,184.50 in reasonable attorneys’ fees and

            $940.52 in costs pursuant to the Agreements at issue and I.C. § 12-120(3).

            As indicated above, Plaintiff is the prevailing party in this litigation.

     (7)    Plaintiff’s Counsel in this matter charged $275 per hour for Partner Andrew

            M. Wagley and $210 per hour for Associate Samir Dizdarevic-Miller. The

            hourly rates for attorney services charged by Plaintiff’s counsel are

            reasonable in the District of Idaho, Northern Division.

     (8)    Plaintiff seeks recovery of 58.9 hours incurred by Mr. Wagley and 4.7 hours

            incurred by Mr. Dizdarevic-Miller. These hours take into account the

            necessary research and analysis to draft the Complaint, place the

            Defendants in Default, obtain the Default Judgment, and bring Plaintiff’s

            Motion for Attorneys’ Fees.


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      (9)    These hours do not include legal work done solely in relation to Defendant

             Micah Eigler—who was not included in the Default Judgment—and

             excludes hours that were voluntarily reduced in the itemization based upon

             Counsel’s professional judgment.

      (10)   The total hours of attorneys’ fees sought by Plaintiff is reasonable,

             particularly when compared to the nearly $1,200,000 Default Judgment

             obtained.

      (11)   Plaintiff also seeks $940.52 in recoverable litigation costs pursuant to the

             Agreements at issue. These costs are those above and beyond what is

             recoverable in Plaintiff’s accompanying Cost Bill. The Court hereby finds

             that these costs are reasonable and recoverable.

                              CONCLUSIONS OF LAW

      Based upon the foregoing Findings of Fact, the Court hereby enters the following

 Conclusions of Law:

      (1)    Plaintiff is entitled to reasonable attorneys’ fees and costs as the prevailing

             party pursuant to the Agreements at issue herein.

      (2)    Plaintiff is similarly entitled to attorneys’ fees pursuant to I.C. § 12-120(3)

             as the prevailing party in this litigation. The “gravamen” of this lawsuit is

             a commercial transaction, to wit, the Agreements at issue.

      (3)    The Court will use the “lodestar” approach to determine the fee amount.

             The lodestar amount is calculated by multiplying the number of hours

             reasonably expended on the litigation by a reasonably hourly rate.


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     (4)      As indicated above, the Court concludes that the rates charged by Plaintiff’s

              Counsel are reasonable based upon multiple factors, including the

              experience, skill and reputation of the attorney requesting fees, in addition

              to the market rate in the District of Idaho, Northern Division.

     (5)      As indicated above, the Court further determines that 63.6 hours were

              reasonably incurred in this litigation.

     (6)      As such, the recoverable amounts of attorneys’ fees pursuant to the

              Agreements is as follows:

                 Individual              Hours Sought      Hourly Rate           Total

           Andrew M. Wagley                   58.9              $275            $16,197.50

           Samir Dizdarevic-Miller             4.7              $210               $987.00

                                                           Grand Total          $17,184.50

     (7)      In addition to reasonable attorneys’ fees, Plaintiff also seeks $940.52 in

              recoverable litigation costs. This includes $185.64 in private process server

              fees, $74.30 in printing / copying costs, $80.58 in mailing expenses, and

              $600 in expert fees for the opinion of Richard T. Wetmore regarding

              reasonable commercial litigation rates in Norther Idaho. These costs are

              reasonable and recoverable pursuant to the Agreements at issue.

                                          ORDER

     Based upon the foregoing Findings of Fact and Conclusions of Law, it is hereby

 ORDERED, ADJUDGED, AND DECREED as follows:

     (1)      Plaintiff’s Motion for Attorneys’ Fees and Costs (Dkt. 39) is GRANTED.


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     (2)    The Court hereby AWARDS ATTORNEYS’ FEES AND COSTS in

            favor of Plaintiff, Cody J. Schueler, and against Defendants Four

            SquareBiz, LLC and Keith O. Crews (an individual and his associated

            marital community), jointly and severally, in the amount of $18,125.02,

            comprised of $17,184.50 in reasonable attorneys’ fees and $940.52 in costs.

     (3)    Plaintiff’s recoverable attorneys’ fees and costs SHALL BE ADDED to

            the Judgment previously entered in this matter.

     (4)    Interest SHALL ACCRUE on the recoverable attorneys’ fees and costs at

            the rate of twelve percent (12%) simple interest per annum as of the date

            below.

                                              DATED: October 13, 2023


                                              _________________________
                                              David C. Nye
                                              Chief U.S. District Court Judge




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